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                                UNITED STATES DISTRICT COURT

                             NORTHERN DISTRICT OF CALIFORNIA

                                    SAN FRANCISCO DIVISION



BRYON JACKSON,                            )         Case No. 3:21-cv-08458-LB
                                          )
   Plaintiff,                             )
                                          )         JOINT EXHIBIT 003
v.                                        )
                                          )
TARGET CORPORATION,                       )         Judge:   Hon. Laurel Beeler
                                          )
   Defendant.                             )
                                          )
_________________________________________ )
Case 3:21-cv-08458-LB Document 167 Filed 02/29/24 Page 2 of 2
